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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

 MARCY CURTIS,                   )
                                 )
                                 )              Case No.
                 Plaintiff,      )
                                 )              COMPLAINT FOR
                                 )
       v.                        )              VIOLATION OF THE
                                 )              FEDERAL SECURITIES LAWS
 TCF FINANCIAL CORPORATION,      )
                                 )              JURY TRIAL DEMANDED
 GARY TORGOW, THOMAS C.          )
 SHAFER, VANCE K. OPPERMAN,      )
                                 )
 DAVID T. PROVOST, PETER BELL, )
 KAREN L. GRANDSTRAND,           )
                                 )
 RICHARD H. KING, RONALD A.      )
 KLEIN, BARBARA J. MAHONE,       )
                                 )
 BARBARA L. MCQUADE, ROGER J. )
 SIT, JULIE H. SULLIVAN, JEFFREY )
                                 )
 L. TATE, ARTHUR A. WEISS,       )
 FRANKLIN C. WHEATLAKE, and      )
                                 )
 THERESA M.H. WISE,              )
                                 )
                 Defendants.     )
                                 )

      Plaintiff Marcy Curtis (“Plaintiff”), upon information and belief, including an

examination and inquiry conducted by and through her counsel, except as to those

allegations pertaining to Plaintiff, which are alleged upon personal belief, alleges the

following for her Complaint:

                           NATURE OF THE ACTION

      1.     Plaintiff brings this action against TCF Financial Corporation (“TCF”

or the “Company”) and the members of its Board of Directors (the “Board” or the
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“Individual Defendants”) for their violations of Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a),

and U.S. Securities and Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R. §

240.14a-9. By the Action, Plaintiff seeks to enjoin the vote on a proposed transaction

(valued at approximately $6 billion), pursuant to which Huntington Bancshares

Incorporated (“Huntington”) will acquire TCF (the “Proposed Transaction”).

      2.     On December 13, 2020, TCF and Huntington jointly announced their

entry into an Agreement and Plan of Merger dated the same day (the “Merger

Agreement”). Under the terms of the Merger Agreement, Huntington will acquire

TCF, with each TCF stockholder receiving 3.0028 shares of Huntington common

stock for each share of TCF common stock they own (the “Merger Consideration”).

      3.     On February 17, 2021, TCF filed a Schedule 14A Definitive Proxy

Statement (the “Proxy Statement”) with the SEC. The Proxy Statement, which

recommends that TCF stockholders vote in favor of the Proposed Transaction, omits

or misrepresents material information concerning, among other things: (a) the

projections for each of TCF, Huntington, and the pro forma company utilized by the

Company’s financial advisor, Keefe, Bruyette & Woods, Inc. (“KBW”), in its

financial analyses and the data and inputs underlying the financial valuation analyses

that support the fairness opinion provided by KBW; and (b) the background of the

Proposed Transaction.     Defendants authorized the issuance of the false and




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misleading Proxy Statement in violation of Sections 14(a) and 20(a) of the Exchange

Act.

       4.    It is imperative that the material information omitted from the Proxy

Statement is disclosed to the Company’s stockholders prior to the forthcoming

stockholder vote so that they can properly exercise their corporate suffrage rights.

       5.    For these reasons and as set forth in detail herein, Plaintiff seeks to

enjoin Defendants from taking any steps to consummate the Proposed Transaction

unless and until the material information discussed below is disclosed to the

Company’s stockholders or, in the event the Proposed Transaction is consummated,

to recover damages resulting from the defendants’ violations of the Exchange Act.

                          JURISDICTION AND VENUE

       6.    This Court has jurisdiction over the claims asserted herein for violations

of Sections 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated

thereunder pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28

U.S.C. § 1331 (federal question jurisdiction).

       7.    This Court has jurisdiction over the defendants because each defendant

is either a corporation that conducts business in and maintains operations within this

District, or is an individual with sufficient minimum contacts with this District so as

to make the exercise of jurisdiction by this Court permissible under traditional

notions of fair play and substantial justice.




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      8.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

Plaintiff’s claims arose in this District, where a substantial portion of the actionable

conduct took place, where most of the documents are electronically stored, and

where the evidence exists. TCF is headquartered in this District. Moreover, each of

the Individual Defendants, as Company officers or directors, has extensive contacts

within this District.

                                   THE PARTIES

      9.     Plaintiff is, and has been at all times relevant hereto, a continuous

stockholder of TCF.

      10.    Defendant TCF is a Michigan corporation with its principal executive

offices located at 333 W. Fort Street, Suite 1800, Detroit, Michigan 48226. TCF is

a financial holding company. TCF’s primary consumer and commercial banking

subsidiary is TCF National Bank (“TCF Bank” or the “Bank”). The Company’s

common stock trades on the Nasdaq Global Select Market under the ticker symbol

“TCF.”

      11.    Defendant Gary Torgow (“Torgow”) is Executive Chairman of the

Board and has been a director of the Company since August 1, 2019.

      12.    Defendant Thomas C. Shafer (“Shafer”) serves as Chief Executive

Officer (“CEO”) of TCF Bank and has been Vice Chairman of the Board and a

director of the Company since October 2020.




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      13.   Defendant Vance K. Opperman (“Opperman”) is Lead Independent

Director and has been a director of the Company since August 1, 2019.

      14.   Defendant David T. Provost (“Provost”) is CEO of the Company and

has been Executive Vice Chairman since August 1, 2019 and a director of the

Company since August 31, 2016. Defendant Provost previously served as CEO and

President of the Company from June 2017 until August 2019.

      15.   Defendant Peter Bell (“Bell”) has been a director of the Company since

August 1, 2019.

      16.   Defendant Karen L. Grandstrand (“Grandstrand”) has been a director

of the Company since August 1, 2019.

      17.   Defendant Richard H. King (“King”) has been a director of the

Company since August 1, 2019.

      18.   Defendant Ronald A. Klein (“Klein”) has been a director of the

Company since August 31, 2016.

      19.   Defendant Barbara J. Mahone (“Mahone”) has been a director of the

Company since August 31, 2016.

      20.   Defendant Barbara L. McQuade (“McQuade”) has been a director of

the Company since April 25, 2018.

      21.   Defendant Roger J. Sit (“Sit”) has been a director of the Company since

August 1, 2019.




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      22.   Defendant Julie H. Sullivan (“Sullivan”) has been a director of the

Company since August 1, 2019.

      23.   Defendant Jeffrey L. Tate (“Tate”) has been a director of the Company

since March 1, 2017.

      24.   Defendant Arthur A. Weiss (“Weiss”) has been a director of the

Company since August 31, 2016.

      25.   Defendant Franklin C. Wheatlake (“Wheatlake”) has been a director of

the Company since January 2006.

      26.   Defendant Theresa M. H. Wise (“Wise”) has been a director of the

Company since August 1, 2019.

      27.   Defendants identified in paragraphs 11-26 are referred to herein as the

“Board” or the “Individual Defendants.”

      28.   Non-party Huntington is a Maryland corporation with its principal

executive offices located at 41 South High Street, Columbus, Ohio 43287.

Huntington’s common stock trades under the ticker symbol “HBAN” on the

NASDAQ Global Select Market.




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                      SUBSTANTIVE ALLEGATIONS

The Proposed Transaction

     29.   On December 13, 2020, TCF and Huntington jointly announced:

     COLUMBUS, Ohio and DETROIT, Dec. 13, 2020 -- Huntington
     Bancshares Incorporated (“Huntington”) (Nasdaq: HBAN;
     www.huntington.com), the parent company of The Huntington
     National Bank, and TCF Financial Corporation (“TCF”) (Nasdaq: TCF;
     www.tcfbank.com), the parent company of TCF National Bank, today
     announced the signing of a definitive agreement under which the
     companies will combine in an all-stock merger with a total market value
     of approximately $22 billion to create a top 10 U.S. regional bank with
     dual headquarters in Detroit, Michigan and Columbus, Ohio.

     The combined company will bring together two purpose-driven
     organizations with a deep commitment to the customers and
     communities they serve. With a rich history of caring for customers
     and colleagues, the new organization will have a top 5 rank in
     approximately 70% of its deposit markets and will leverage its scale to
     serve customer needs through a distinctive, “People-First, Digitally-
     Powered” customer experience.

     Under the terms of the agreement, which was unanimously approved
     by the boards of directors of both companies, TCF will merge into
     Huntington, and the combined holding company and bank will operate
     under the Huntington name and brand following the closing of the
     transaction. Upon closing, Stephen D. Steinour will remain the
     chairman, president, and CEO of the holding company and CEO and
     president of the bank. Gary Torgow will serve as chairman of the
     bank’s board of directors.

     “This merger combines the best of both companies and provides the
     scale and resources to drive increased long-term shareholder value.
     Huntington is focused on accelerating digital investments to further
     enhance our award-winning people-first, digitally powered customer
     experience,” Steinour said. “We look forward to welcoming the TCF
     Team Members. Together we will have a stronger company better able




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    to support our customers and drive economic growth in the
    communities we serve.”

    The headquarters for the Commercial Bank will be in Detroit where at
    least 800 employees of the combined company, nearly three times the
    number TCF had planned, will be housed in the downtown structure.
    Columbus will remain the headquarters for the holding company and
    the Consumer Bank.

    “This partnership will provide us the opportunity for deeper
    investments in our communities, more jobs in Detroit, an increased
    commitment in Minneapolis and a better experience for our customers,”
    Torgow said. “We will be a top regional bank, with the scale to
    compete and the passion to serve. Merging with the Huntington
    platform will be a great benefit to all of our stakeholders and will drive
    significant opportunities for our team members.”

    The pro forma combined company will have approximately $168
    billion in assets, $117 billion in loans, and $134 billion in deposits. The
    combined organization will significantly improve Huntington's market
    position, increase scale and provide greater revenue growth
    opportunities. The company is expected to extend its top quartile
    financial metrics after completion of the integration.

    Huntington expects the financially compelling transaction to be 18%
    accretive to earnings per share in 2022, assuming the fully phased-in
    transaction cost synergies. The merger uniquely positions the
    combined organization to capitalize on market opportunities and
    broaden the channels and customers it serves through expanded
    distribution and product offerings.

    Strategic and Financial Benefits of the Proposed Merger

       • Enhanced Profitability and Scale: The combined company’s
         expanded distribution and scale positions Huntington to serve an
         expanded customer base through a distinctive customer
         experience while driving top-quartile financial performance.




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       • Significant Cost Synergies: Estimated cost savings of the
         combined company are approximately $490 million, or 37% of
         TCF’s noninterest expense.

       • Revenue Growth through Combined Segments and
         Expanded National Footprint Businesses: The combined
         company will strengthen its Consumer, Wealth, Business
         Banking, and Commercial businesses. Huntington will leverage
         its broader product and services offering, as well as its award-
         winning digital capabilities, across the expanded combined
         customer base. In addition, TCF operates national inventory and
         equipment finance businesses, which will complement
         Huntington's existing commercial efforts.

       • Strengthened Market Position: The combined company will
         maintain its leading market position with the largest branch share
         and second position in Consumer Deposits in the footprint. The
         combination expands the Huntington footprint to include
         Minnesota, Colorado, Wisconsin, and South Dakota, and
         deepens its presence in Chicago.

       • Strong Brand and Cultural Alignment: The combined
         company expands the reach of Huntington's “Welcome” culture
         and enriches an inclusive, diverse, high-performing team.

       • Community Commitment: Huntington will contribute $50
         million to a donor advised fund at the Community Foundation
         for Southeast Michigan to serve the needs of communities in
         Detroit and across the footprint of the combined bank. This
         donor advised fund will be in addition to commitments already
         made by both banks, including a combined $10 million to
         Detroit’s Strategic Neighborhood Fund. The combined company
         also will remain committed to Minneapolis, where TCF was
         founded nearly a century ago. Huntington and TCF have
         consistently earned “Outstanding” ratings under the Community
         Reinvestment Act. Huntington recently announced a $20 billion
         Community Plan, which is focused on driving economic
         inclusion through access to capital, affordable housing and home
         ownership, and community lending and investment. $5 billion is



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            specifically dedicated to Michigan. The most recent component
            of the Community Plan is “Huntington's Lift Local Business”
            which provides much-needed capital to local minority, woman
            and veteran-owned businesses, as well as giving customers
            access to business planning and educational programs to support
            local businesses. TCF also recently announced a $1 billion
            commitment over five years to support minority-owned and
            women-owned small businesses, which will be added to
            Huntington's commitment. Huntington is the #1 SBA Lender in
            the nation for loan origination, and this merger will provide
            expanded opportunity to bring that expertise to a larger,
            combined footprint.

      Board of Directors

      At closing, five current TCF Directors will be added to the Board of
      Directors of the holding company. David L. Porteous will serve as
      Lead Director of the holding company's Board of Directors and the
      bank's Board of Directors.

      Timing and Approvals

      The merger is expected to close in the second quarter of 2021, subject
      to satisfaction of customary closing conditions, including receipt of
      customary regulatory approvals and approval by the shareholders of
      each company.

The Proxy Statement Contains Material Misstatements or Omissions

      30.   The Proxy Statement was furnished to Company stockholders to solicit

their votes in favor of the Proposed Transaction. The Proxy Statement, however,

misrepresents and/or omits material information that is necessary for the Company’s

stockholders to make an informed decision concerning whether to vote in favor of

that deal. As such, the Proxy Statement has been issued in violation of Sections

14(a) and 20(a) of the Exchange Act. The Individual Defendants, moreover, were



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obligated to carefully review the Proxy Statement before it was filed with the SEC

and disseminated to the Company’s stockholders to ensure that it did not contain any

material misrepresentations or omissions. They failed to do so.

      31.   As set forth herein, the Proxy Statement fails to provide Company

stockholders with material information or provides them with materially misleading

information concerning, among other things: (a) the projections for each of TCF,

Huntington, and the pro forma company utilized by the Company’s financial

advisor, KBW, in its financial analyses and the data and inputs underlying the

financial valuation analyses that support the fairness opinion provided by KBW; and

(b) the background of the Proposed Transaction.

Material Omissions Concerning Financial Projections for TCF, Huntington and
the Pro Forma Company and KBW’s Financial Analyses

      32.   The Proxy Statement omits material information regarding financial

projections for TCF, Huntington, and the pro forma combined entity, including the

estimated excess cash flows that each of TCF, Huntington, and the pro forma

combined entity could generate from June 30, 2021 through December 31, 2026.

This omission exists notwithstanding the fact that the Proxy Statement sets forth

that, in connection with KBW’s discounted cash flow analyses for each of TCF,

Huntington, and the pro forma entity, KBW utilized the “estimated excess cash flows

that [TCF, Huntington, and the pro forma combined entity] could generate over the

period from June 30, 2021 through December 31, 2026.” Proxy Statement at 82-83.



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      33.      The Proxy Statement further describes KBW’s fairness opinion and the

various valuation analyses performed in support of its opinion.            In doing so,

however, the Proxy Statement omits material information concerning KBW’s

financial analyses, including certain key inputs and assumptions underlying these

analyses. TCF’s public stockholders are unable to fully understand these analyses

in the absence of this critical information, and thus are unable to determine how to

value KBW’s fairness opinion in deciding their vote regarding the Proposed

Transaction.

      34.      The Proxy Statement further fails to disclose the individual multiples and

financial metrics for each of the selected companies analyzed by KBW in its TCF

Selected Companies Analysis and Huntington Selected Companies Analysis.

      35.      The Proxy Statement fails to disclose the individual multiples and

financial metrics for each of the selected transactions analyzed by KBW in

connection with its Selected Transactions Analysis.

      36.      With respect to KBW’s Relative Contribution Analysis, the Proxy

Statement fails to disclose and quantify the following balance sheet and income

statement items for each of TCF and Huntington used in the analysis: (a) Gross

Loans Held for Investment; (b) Deposits; (c) Tangible Common Equity; (e) 2020-

2022 Earnings; and (f) 2021-2022 Pre-Tax, Pre-Provision Earnings.




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      37.    With respect to KBW’s Financial Impact Analysis, the Proxy Statement

fails to disclose: (a) the specific accretion/dilution figures resulting from the

analysis; (b) the pro forma assumptions (including, without limitation, the cost

savings and related expenses expected to result from the merger and certain other

earnings adjustments, accounting adjustments and restructuring charges assumed

with respect thereto) provided by Huntington management and utilized by KBW;

and (c) Huntington’s tangible common equity to tangible assets ratio, Leverage

Ratio, Common Equity Tier 1 Ratio, Tier 1 Capital Ratio and Total Risk-based

Capital Ratio at closing as of June 30, 2021.

      38.    The Proxy Statement fails to disclose numerous material items in

connection with its description of KBW’s Huntington Discounted Cash Flow

Analysis. In particular, the Proxy Statement omits: (a) the estimated excess cash flows

that Huntington could generate over the period from June 30, 2021 through December

31, 2026 as a standalone company; (b) Huntington’s 2026 earnings; (c) quantification

of Huntington’s implied terminal value; and (d) quantification of the inputs and

assumptions underlying the discount rates ranging from 9.0% to 12.0%.

      39.    With respect to KBW’s TCF Discounted Cash Flow Analysis, the Proxy

Statement fails to disclose: (a) the estimated excess cash flows that TCF could

generate over the period from June 30, 2021 through December 31, 2026 as a

standalone company; (b) TCF’s 2026 earnings; (c) quantification of TCF’s implied




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terminal value; and (d) quantification of the inputs and assumptions underlying the

discount rates ranging from 10.0% to 13.0%.

      40.      With respect to KBW’s Pro Forma Combined Discounted Cash Flow

Analysis, the Proxy Statement fails to disclose: (a) the estimated excess cash flows

that the pro forma combined entity could generate over the period from June 30, 2021

through December 31, 2026; (b) the pro forma combined entity’s 2026 earnings; (c)

quantification of the implied terminal values for the pro forma combined entity; (d)

the estimated cost savings and related expenses, other earnings adjustments,

accounting adjustments and restructuring charges used in the analysis; and (e)

quantification of the inputs and assumptions underlying the discount rates ranging

from 9.0% to 12.0%.

      41.      Full disclosure of the omissions identified above is necessary to ensure

that stockholders can fully evaluate how, if at all, KBW’s opinion and analyses

should affect the decision to vote regarding the Proposed Transaction. Without such

undisclosed information, moreover, TCF stockholders are precluded from making

their own determination whether the financial analyses performed by KBW were

based on reliable inputs and assumptions, as opposed to having been prepared to

ensure positive fairness opinion could be rendered in connection with the Proposed

Transaction.




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      42.   The omission of this information renders the statements in the “Opinion

of TCF’s Financial Advisor” and “Certain Unaudited Prospective Financial

Information” sections of the Proxy Statement false and/or materially misleading in

contravention of the Exchange Act.

Material Omissions Concerning the Background Leading to the Proposed
Transaction
The Proxy Statement fails to disclose material information concerning the

background of the Proposed Transaction, including (a) the details of the other

potential strategic alternatives available to TCF; (b) the “universe” of potential

acquirors or merger partners discussed by the KBW representative; and (c) any

Board deliberations concerning whether to conduct a market check or contact any of

the potential acquirors or merger partners identified by KBW. See id. at 67.

      43.   The Proxy Statement sets further forth that:

      On November 16, 2020, Messrs. Steinour, Provost and Torgow agreed
      on an outline of terms to present to their respective boards for
      consideration. These terms included merger consideration consisting
      of Huntington common stock (with Huntington having the option to
      include cash for up to 10% of the total consideration), an 11%
      acquisition premium to be calculated using a methodology and
      measuring period to be agreed, five TCF directors being added to
      Huntington’s board, dual headquarters in Columbus and Detroit for the
      combined company’s banking operations, the combined company’s
      intention to increase total employment in TCF’s new Detroit
      headquarters to at least eight hundred (800) employees, the cities of
      Minneapolis, Chicago and Midland remaining as centers of influence
      for the combined company, and Mr. Torgow being appointed as
      chairman of The Huntington National Bank board of directors at
      closing.




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Id. at 66. The Proxy Statement, however, fails to set forth when the option to include

cash for up to 10% of the total consideration was taken off of the negotiating table,

including any Board discussions regarding the potential for cash to comprise the

Merger Consideration for TCF shareholders.

      44.    The Proxy Statement further fails to disclose the timing and nature of

all communications between Huntington and TCF’s executive officers and directors

regarding Company management’s Huntington employment agreements and the

change-in-control payments TCF’s officers stand to receive in addition to their

continued employment with the combined company.

      45.    Communications regarding post-transaction employment and merger-

related benefits during the negotiation of the underlying transaction must be

disclosed to shareholders. This information is necessary for TCF’s shareholders to

understand potential conflicts of interest of management and the Board, as that

information provides illumination concerning motivations that would prevent

fiduciaries from acting solely in the best interests of the Company’s shareholders.

      46.    The omission of this information renders the statements in the

“Background of the Merger” and “Interests of TCF’s Directors and Executive

Officers in the Merger” sections of the Proxy Statement false and/or materially

misleading in contravention of the Exchange Act




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      47.    The Individual Defendants were aware of their duty to disclose this

information and acted negligently (if not deliberately) in failing to include this

information in the Proxy Statement. Absent disclosure of the foregoing material

information prior to the stockholder vote on the Proposed Transaction, Plaintiff and

TCF’s public stockholders will be unable to make a sufficiently informed decision

whether to vote in favor of the Proposed Transaction and are thus threatened with

irreparable harm warranting the injunctive relief sought herein.


                              CLAIMS FOR RELIEF

                                       COUNT I

     Claims Against All Defendants for Violations of Section 14(a) of the
          Exchange Act and Rule 14a-9 Promulgated Thereunder

      48.    Plaintiff repeats all previous allegations as if set forth in full.

      49.    During the relevant period, defendants disseminated the false and

misleading Proxy Statement specified above, which failed to disclose material facts

necessary to make the statements, in light of the circumstances under which they

were made, not misleading in violation of Section 14(a) of the Exchange Act and

SEC Rule 14a-9 promulgated thereunder.

      50.    By virtue of their positions within the Company, the defendants were

aware of this information and of their duty to disclose this information in the Proxy

Statement. The Proxy Statement was prepared, reviewed, and/or disseminated by

the defendants. It misrepresented and/or omitted material facts, including material


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information about the projections for each of TCF, Huntington, and the pro forma

company utilized by KBW in its financial analyses, the data and inputs underlying

the financial valuation analyses that support the fairness opinion provided by KBW,

and the background of the Proposed Transaction. The defendants were at least

negligent in filing the Proxy Statement with these materially false and misleading

statements.

      51.      The omissions and false and misleading statements in the Proxy

Statement are material in that a reasonable stockholder would consider them

important in deciding how to vote on the Proposed Transaction.

      52.      By reason of the foregoing, the defendants have violated Section 14(a)

of the Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.

      53.      Because of the false and misleading statements in the Proxy Statement,

Plaintiff is threatened with irreparable harm, rendering money damages inadequate.

Therefore, injunctive relief is appropriate to ensure defendants’ misconduct is

corrected.

                                        COUNT II

             Claims Against the Individual Defendants for Violations of
                        Section 20(a) of the Exchange Act

      54.      Plaintiff repeats all previous allegations as if set forth in full.

      55.      The Individual Defendants acted as controlling persons of TCF within

the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of



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their positions as officers and/or directors of TCF, and participation in and/or

awareness of the Company’s operations and/or intimate knowledge of the false

statements contained in the Proxy Statement filed with the SEC, they had the power

to influence and control and did influence and control, directly or indirectly, the

decision-making of the Company, including the content and dissemination of the

various statements which Plaintiff contends are false and misleading.

      56.    Each of the Individual Defendants was provided with or had unlimited

access to copies of the Proxy Statement and other statements alleged by Plaintiff to

be misleading prior to and/or shortly after these statements were issued and had the

ability to prevent the issuance of the statements or cause the statements to be

corrected.

      57.    In particular, each of the Individual Defendants had direct and

supervisory involvement in the day-to-day operations of the Company, and,

therefore, is presumed to have had the power to control or influence the particular

transactions giving rise to the securities violations as alleged herein, and exercised

the same. The Proxy Statement at issue contains the unanimous recommendation of

each of the Individual Defendants to approve the Proposed Transaction. They were,

thus, directly involved in the making of the Proxy Statement.

      58.    In addition, as the Proxy Statement sets forth at length, and as described

herein, the Individual Defendants were each involved in negotiating, reviewing, and




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approving the Proposed Transaction. The Proxy Statement purports to describe the

various issues and information that they reviewed and considered—descriptions the

Company directors had input into.

      59.    By virtue of the foregoing, the Individual Defendants have violated

Section 20(a) of the Exchange Act.

      60.    As set forth above, the Individual Defendants had the ability to exercise

control over and did control a person or persons who have each violated Section

14(a) and SEC Rule 14a-9, promulgated thereunder, by their acts and omissions as

alleged herein. By virtue of their positions as controlling persons, these defendants

are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of defendants’ conduct, TCF’s stockholders will be irreparably harmed.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands judgment and preliminary and permanent

relief, including injunctive relief, in her favor on behalf of TCF, and against

defendants, as follows:

      A.     Preliminarily and permanently enjoining defendants and all persons

acting in concert with them from proceeding with, consummating, or closing the

Proposed Transaction and any vote on the Proposed Transaction, unless and until

defendants disclose and disseminate the material information identified above to

TCF stockholders;




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      B.     In the event defendants consummate the Proposed Transaction,

rescinding it and setting it aside or awarding rescissory damages to Plaintiff;

      C.     Declaring that defendants violated Sections 14(a) and/or 20(a) of the

Exchange Act, as well as SEC Rule 14a-9 promulgated thereunder;

      D.     Awarding Plaintiff the costs of this action, including reasonable

allowance for Plaintiff’s attorneys’ and experts’ fees; and

      E.     Granting such other and further relief as this Court may deem just and

proper.

                                 JURY DEMAND

      Plaintiff demands a trial by jury.

 Dated: March 11, 2020                              WEISSLAW LLP


                                              By /s/ Richard A. Acocelli
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